                          EXHIBIT 9
              Transcribed Phone Calls


               • Avens/Dixon April 10, 2023
              • Avens/Lowery April 10, 2023
           • Avens/Dixon/Corbitt April 13, 2023




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        Transcribed Phone Call Between Avens and Dixon on April 10, 2023




Cynthia Avens


00:00 Hello? Hello?


Faris Dixon


00:05 Miss Avens , can you hear me?


Cynthia Avens


00 :06 Yes. Yes. I can hear you.


Faris Dixon


00:09 Um, yes, ma'am . I got your message and we have not gotten a response back

from the medical center's office. (Unclear but sounds like) It was not in our email, and

we checked our email.


Cynthia Avens


00:20 Okay. So , you said you haven't heard back from the medical examiner. Oh , and

thank you , by the way, for calling me back.


Faris Dixon


00 :30 Um, yes, ma'am .


Cynthia Avens


00 :32 How does the medical examiner typically respond?




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Faris Dixon


00:39 Well, since, with this, since we've asked directly, then she would probably send

us a notice that would come through to me and then a copy to Jennifer, um , as part of

the invest, as part of an investigation and we would look at it. Jennifer checks, checks

(inaudible) make a match against any pending cases. And if not, she would then realize

that this is not one of the pending cases we have . And then she would just draw it to my

attention .


Cynthia Avens


01 :10 Okay. I'm kind of lost. Can you explain that part again?


Faris Dixon


01 :13 Yes, ma'am. Typically, these are for cases that we already have pending .


Cynthia Avens


01 :17 Okay.


Faris Dixon


01 : 18 So they're sent to myself and my administrative assistant. And she goes through

the ones we get to match them to the cases that we have to the particular DA. And so,

when she wou ld see this, eventually, she would find , she would realize that this is not,

this is not one assigned to anybody and then we would take a look at it. So , it's we get

an email sent back to us from the medical examiner's office , is the short answer.




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Cynthia Avens


01 :43 Okay. So , um , I was looking back at my email where the release , the medical

release was sent and , that was at the end of July, near the end of July. When did you

say that you gave everything to the medical examiner?


Faris Dixon


02 :01 I could not tell you off the top of my head . It wou ld have been soon after that

because we had interns that scanned it. And then once it was scanned , it was emailed

off. So ...


Cynthia Avens


02 : 12 Okay. So , it, it was given to the medical examiner by email , Dr. Kelly?


Faris Dixon


02 :17 (Almost inaudible) Yes, ma'am .


Cynthia Avens


02 :18 So, I know my daughter had a lot of records , medical records and such . Is this

the largest file that you sent to Dr. Kelly to review?


Faris Dixon


02 :29 You said, "Is this the largest one we've ever sent?"


Cynthia Avens


02 :31 The largest one. Yes .




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Faris Dixon


02 :33 I couldn't say that. Um .. . (silence) Yeah . (Inaudible) 'Cause I've never thought to

compare it to any other, any other cases .


Cynthia Avens


02:45 Right.


Faris Dixon


02:45 So, I couldn't say that one way or the other.


Cynthia Avens


02:48 Okay. So , can you tell me a little bit, how the investigation process works as far

as what steps?


Faris Dixon


02:57 Well , the for the most part, most of that's already been done. I know the

detectives when it, the allegations were originally made, came out, did their

investigation , and typically at that point we would ask the of course the medical

examiner would come out to the scene and picked up the body and done the autopsy at

that point, normally.


Cynthia Avens


03 :25 Okay. Well, I didn't request an autopsy because I didn't know anything had gone

wrong until the hospital sent their, their risk manager, Vicky Haddock, to my house




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about a month after. And that's when I found out that some things were not done the

way they were supposed to.


Faris Dixon


03:42 Oh , I was I'm sorry. I wasn't saying I wasn't ...


Cynthia Avens


03:44 Oh , okay.


Faris Dixon


03:46 (Inaudible) I was just saying , normally, that's, that's what happens. Uh , the

detectives call the medical examiner out to the scene, or if the or if medical examiner

does not come out there it's not (inaudible), but they go and pick up the body and then

do the medical examination. And depending on the medical examiner, some will want

the officer in there to talk to him about what happened or what he believed to happen .

Some med ical examiners don't want an officer in there and just wanna make their own

findings.


Cynthia Avens


04 :16 Right. Okay. I'm, I'm asking because like I told you before, different people were

never investigated . Do you plan to formally investigate witnesses or family members

who were at the hospital?


Faris Dixon


04:31 We would go by what the medical examiner said to us and whether she thought

that was something criminal or not.




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Cynthia Avens


04 :37 Because ...


Faris Dixon


04 :37 And then .. .


Cynthia Avens


04:38 I know Green- ...


Faris Dixon


04 :38 Based on that


Cynthia Avens


04:39 I'm sorry.


Faris Dixon


04:40 Yeah . It would be based on what the medical examiner told us. If she, if medical

examiner said that she thinks there wasn 't anything criminal , then we , we stop . And if

she says there was , based on what she sends us or what they send us, then we would

ta lk to GPO, and they would go back out and talk to someone.


Cynthia Avens


04 :57 I know they closed the case without investigating any of us, um , and we were

witnesses. We were never asked what we saw, what we heard , what was, you know,

this the state of mind of anybody or anything . And we're almost 9 years in , and none of

us have been questioned about anything .




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Faris Dixon


05: 19 Well , that's because that would have been because at the time, no one thought

that it was, it was criminal.


Cynthia Avens


05:26 Well, with the evidence that was submitted , there had to be, um , I, I, I don't

remember the legal term , but, some type of question about whether it might have been

something crim inal. Like I said , we were never in investigated for them to come to their

conclusions. You know, we have different statements from different people that's in the

DHHS report where coworkers stated that the nurse verbally told them she would not

reconnect my daughter to the card iac leads. You know, just things like that, and we were

never questioned about it.


Faris Dixon


06 :13 That's really gonna come down to what the medical examiner looking at it finds

and makes a determination as to what will be proper in that kind of setting . (Silence)


Cynthia Avens


06:26 Okay. So right now, the medical examiner has the medical records. Um, do they

have the copy of the police report or anything that the police, any part of the police

investigation?


Faris Dixon


06:44 I would have to go back and look throug h individually to see, but I know that we

sent most of the, the rec the records that we had from you and the records that we had




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involving the hospital records we sent off to the medical examiner. But I have to go back

and scan , look individually. (Silence)


Cynthia Avens


07 :05 Okay. So ...


Faris Dixon


07 :07 But the medical examiner would know that there were no criminal findings

previously. (Silence)


Cynthia Avens


07:14 Okay. (Silence)


Faris Dixon


07 :18 Because we have to give a, we have to let her know why we're sending it to her.


Cynthia Avens


07 :22 Right. Okay. So , you said she would normally respond by email and then a paper

copy, I believe you said , a hard copy would be sent?


Faris Dixon


07 :35 No, ma'am. No, ma'am . She would just email it to us.


Cynthia Avens


07 :39 So, there wouldn't be a hard copy?




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Faris Dixon


07:42 Not typical ly. (Silence) Because it's sent to us through a secured email. (Silence)

And if it was a criminal case, then we would send it out to our, to the defendants.


Cynthia Avens


07 :59 Okay. So, because it's electronic, will I get a copy? I know last year, um , when we

talked about this last summer, and you claimed you already had a copy and , that you

had already sent the, the documents there , and then I found out otherwise when I spoke

with the office, and then you , um , even in our conversation , you told me that I would not

be able to see the decision that you said you already had back. So, then we start all

over, you know, when you called me and told me that you would forward everything to

the medical examiner. Will I be able to see the resu lts this time?


Faris Dixon


08:35 Well , you would have to ask her directly. What we get is part of our investigation ,

and we don't usually get, hand that out unless there's a crim inal ch- case charge, and

then we only hand that to the defendant. We will let you know what she , what findings

she makes and then you have to ask her directly for a copy of it, (Silence) which , in this

case, wou ld be as the executor of her estate.


Cynthia Avens


08 :58 Right. Well, I am the executor of her estate, of Keisha White's estate. Okay.

(Silence) And right now, you just have no idea how much longer it will take to get a

response back?




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Faris Dixon


09:14 No, ma'am .


Cynthia Avens


09 :16 Okay. Alrighty. Well , I guess that's all of my questions for now. Some of them I

crossed off because you answered . You already answered some of the questions that I

already had wrote down just in some of your explanations. I appreciate that. And I

appreciate your time and you calling me back today. So , I was a little bit nervous

because I missed your call this morning .


Faris Dixon


09:40 Oh , that's alright. We, we don't get a chance to come back and be in our office a

lot.


Cynthia Avens


09:46 Okay. Well , like I said , I appreciate you r time and everything , and , uh , I'll try to

follow-up again soon if I don't hear from you .


Faris Dixon


09 :54 Yes, ma'am .


Cynthia Avens


09:55 Okay. Thank you .


Faris Dixon


09:56 You have a good day.




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Cynthia Avens


09 :57 Bye-bye .




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  Transcribed Phone Call Between Avens and Danene Lowery on April 10, 2023




Oanene

00:00 Medical examiner's office. This is Danene.



Cynthia

00:03 Hello. Miss Danene?



Danene

00:05 Yes.



Cynthia

00:06 Um, I was calling to find out if you have any information in your system on my

daughter, Keisha White .



Danene

00:14 No, ma'am. We don't have any information on her. I, I believe you're supposed to

be , you're supposed to speak with risk management because we don't have any

information here in the medical examiner's office. We're not doing anything with her

case .



Cynthia

00 :31 So, have you received anything?




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Danene

00 :33 No. No, ma'am . I have not received anything . It would come to me, and I haven't

received anything.



Cynthia

00:39 No record , be-, uh , Farris Dixon is saying that he sent everything last summer,

um , the release he had me sign was sent to me towards the end of July. And I sent it

back early in August. And so, it was after that that he claims that everything was sent to

that office, the medical records and , uh , reports from DHHS and the Board of Nursing

and so forth .



Danene

01 :08 I don't have anything , and the last time I talked with his office, they said they had

not sent me anything . So, I'm sorry, but, no, I have not received anything . And I would

be the contact person that would receive that information.



Cynthia

01 :23 Okay. Well , if, if he does send the information over, how would , how would Dr.

Kelly typically respond? Would , I mean , would I get a copy, or is it just between, a

decision that would be just between that office and the DA, like an email or something?




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Danene

01 :40 I don't know what she would do with it. You know, she'd have to wait, and she'd

have to talk with risk, because we're not supposed to be doing anything with the case.

Um , and so, she would have to talk with the attorneys and then see what she would be

allowed to do.



Cynthia

01 :56 Okay.



Danene

01 :57 Okay? But, no, we have not, I have not received anything.



Cynthia

02:02 Wow. So, this is two times because last summer, around June or July, he claimed

that he already had a report back from Dr. Kelly. And then when I spoke with this office,

um, it was you who told me that you didn't have anything in the system on my daughter.

And then he called me back after he was caught in the lie, he called me back a few

days later and told me , "I have good news . I'm gonna send everything over to the

medical examiner's office," and then they followed up by sending me a release to have

notarized. And then I tried to follow-up with this office last, I believe in September or

October, but the person that I spoke with wouldn't talk to me. So, and then I didn't try

anymore until this year.




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Danene

02:50 Yeah . Doctor Kelly was out of the office from November through April and just

came back to work last week.



Cynthia

02:58 Right. I remember.



Danene

02 :59 And we haven't received anything . Um , you know, they might wanna FedEx it to

us or, or I don't know. Just bring it over to us. I don't know, but I have not received

anything. Okay.



Cynthia

03:13 Okay.



Danene

03:15 Okay?



Cynthia

03 :16 I appreciate your time so much , Miss Danene.



Danene

03 :19 You're welcome.




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Cynthia

03 :20 Bye-bye.



Danene

03:20 Okay. Bye-bye.




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       Transcribed Phone Call Between Avens and Dixon on April 13, 2023




00:00 Mrs. Avens: Hello?


00:01 Mr. Dixon:     Miss Avens?


00:03 Mrs. Avens: Yes?


00:04 Mr. Dixon:     Yes, ma'am . I'll call from the DA's office. You left a message for

me?


00:08 Mrs. Avens: Yes, sir. Thank you for ...


00:09 Mr. Dixon:     Yes, ma'am.


00 :11 Mrs. Avens: Thank you for returning my call.


00 : 13 Mr. Dixon:   Yes, ma'am .


00:15 Mrs. Avens: I'm calling because, um , I got other information (Silence) regarding

the sending of records to the medical examiner's office.


00 :28 Mr. Dixon:    Other information you're ...


00 :29 (Inaudible as Mrs. Avens and Mr. Dixon attempt to speak at the same time)


00 :30 Mrs. Avens: Didn't you didn't you run on a platform of cleaning up the corruption

in the courthouse?


00 :37 Mr. Dixon:    Ma'am , what is it you 're talking about?


00 :39 Mrs. Avens: They don't have anything .




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00:42 Mr. Dixon:     Ma'am , we scanned it, and we sent it.


00:45 Mrs. Avens: They don't have anything .


00:48 Mr. Dixon to his administrative assistant, Jennifer Corbitt:         Jennifer, can

you go back and look?


00:51 Mrs. Avens: Excuse me?


00 :52 Ms. Corbitt in the background: I can


00 :53 Mr. Dixon:    We're looking back through our emails?


01 :06 Mr. Dixon to his administrative assistant, Ms. Corbitt:       Um , could you open it

for us?


01 :09 Ms. Corbitt: Certainly. (Silence) August 11th.


01 :14 Mr. Dixon To Ms. Corbitt: How many pages is it? Six hundred ninety, two

thousand ...


01 :19 Ms. Corbitt: Uh , that's 3,000 pages.


01 :22 Mr. Dixon:    August 11th, we, of last year, we sent in one, one document, 2,361

pages. And in the second one, 693 pages. Now what happened once they got it? We

don't know. But it was sent. .. last summer.


01 :45 Mrs. Avens: Miss Danene is saying that she doesn't have it, they don't have

anything in their system .


01 :50 (Unclear as Mr. Dixon and Ms. Corbitt speak at the same time)


01 :52 Ms. Corbitt: It went to Dr. Kelly




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01 :53 Mr. Dixon:    It went to Dr. Kel ly; to her email.


01 :56 Mrs. Avens: Miss Danene said that everything has to go through her. She would

know all of it.


02:01 Mr. Dixon:     Okay, uh. And who is this , who is this lady?


02 :06 Mrs. Avens: She's the office manager.


02 :08 Mr. Dixon:    Alright. We'll send it to her. Uh , previously, we sent it to where Dr.

Kelly wanted us to send it to.


02:14 Mrs. Avens: So, you're gonna send it to her today?


02:17 Mr. Dixon:     Yes , ma'am. We're typing now. (Silence)


02:21 Mrs. Avens: Okay. (Sounds of keystrokes in Dixon's office)


02 :28 Mr. Dixon:     How do you spell her name , her name?


02:30 Mrs. Avens: Who's her name? Danene?


02:33 Ms. Corbitt: I have her email.


02:35 Mrs. Avens: I have the spelling of her name, but I don't have her email.


02 :36 Ms. Corbitt: Yeah . Got it.


02:40 Mr. Dixon:     Alright. We spelled it correctly and are about to send it to her as

soon as we finish up.


02:46 Mrs. Avens: I'd appreciate it. (Inaudible words and keystrokes)


03 :12 Mr. Dixon to Ms. Corbitt: You wanna copy Dr. Kelly in that?




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03:13 Ms. Corbitt: Yeah.


03: 13 Mr. Dixon to Ms. Corbitt: Okay.


03 :14 Ms. Corbitt: Done .


03:16 Mrs. Avens: Can your office please follow-up with them just for receipt (pause)

to confirm that they actually have it this time? (Silence)


03 :32 (Ms. Corbitt answering) Certainly.


03 :33 Mrs. Avens: I'd appreciate that. Thank you .


03:37 (Ms. Corbitt responding) You're welcome.


03:38 Mr. Dixon:      Bye-bye


03:38 Miss Avens: Bye bye.




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                          EXHIBIT 10
  Report from Dr. Donald Jason, MD., JD.




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Donald Jason, MD, JD
Pra:liool.iriledt,FoMJsr:M«lale&~                             825 Ellington Dri ve
                                                           Winston-Salem, NC 27104

                                                              /cell/ (336) 414-8226
                                                              [fax} (336) 285-0311

                                                  January 15, 2024
Mrs. Cynthia B. Avens
303 Riverside Trail
Roanoke Rapids, NC 27870
Re:     State v. Linda Leathers Brixon, RN
        Estate of Keisha White

Dear Mrs. Avens:

At your request, I have reviewed the following material pertaining to the death of Keisha White (Keisha):
   1. Published consent order re Linda Leathers Brixon, RN
   2. Death Certificate for Keisha
   3. Vidant Medical Center records for Keisha, medical record #741644
   4. Nurse Flovv Sheets Pages 1-405
History
According to the Vidant Medical Center records, Keisha, a 26-year-old African-American woman, was transferred
from Halifax Regional Medical Center and admitted to Vidant Medical Center on April 16, 2014, with complaint of
systemic lupus erythematosus flare, anemia, acute-on-clu·onic kidney injury and principal diagnosis of anoxic brain
injmy secondary to pulseless electrical activity cardiac arrest. Keisha began to develop pulmonary edema on May 2,
2014, likely secondary to fluid overload in setting of acute kidney injury on chronic kidney deficiency. Nephrology
was consulted for oliguria and likely lupus nephritis and Keisha was started on Cellcept® and was also started on
hydralazine for afterload reduction.

According to the Published consent order re Linda Leathers Brixon, RN (Licensee), on or about May 9, 2014, while
employed at Vidant Medical Center in Greenville, North Carolina, Licensee was assigned as the primary nurse on the
7:00 p.m. to seven 7:00 am. shift for Keisha, a twenty-six-year old patient who began experiencing a change in
condition. On May 9, 2014, at 10:41 p.m. , Licensee documented Keisha was polling off her cardiac leads. There was
an order for continuous cardiac monitoring, but there is no documentation that the Nurse Practitioner was notified
Keisha was pulling off the cardiac leads until May 10, 2014 at 12:11 a.m. On May 10, 2014, at midnight, Licensee
documented Keisha was agitated, anxious, confused, and restless, pulling at equipment and attempting to get out of
bed. On May 10, 2014, at 12:11 am. Licensee documented Keisha crawling out of bed between the rails, stating she
was hot and wanted to sleep on the floor. Licensee contacted the Nurse Practitioner by telephone with concerns about
patient safety and obtained a verbal order for vest and bilateral 'ATist restraints. The cardiac monitoring technician
documented contacting Licensee multiple times between May 9, 2014, at 7:20 p.m. and May 10, 2014, at 5:37 a.m. to
make her aware Keisha was not on the cardiac monitor. The last cardiac monitor strip was recorded on May 9, 2014,
at 11 :32 p.m. The Nurse Practitioner stated he observed sinus rhythm on the monitor when he was examining Keisha
around 12:30 a.m. on May 10, 2014. Licensee did not maintain the placement of the teleme.-y monitor leads; even
after Keisha was placed in vest and bilateral wrist resr aints on May 10, 2014, at 12: 11 a.m. When interviewed,
Licensee reported when the cardiac leads were reapplied or adjusted, Keisha would either pull off the leads or wiggle
and loosen the leads. However, Licensee failed to notify the Nurse Practitioner or document that these events had
occurred. On May l 0, 2014, at I :51 am., Licensee obtained a verbal order for oxygen tw'O liters. There is no
documentation the ox'ygen was placed on Keisha. On May 10, 2014, at 2:00 a.m. , Licensee documented an oxygen
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saturation of 62%, but did not document the patient's respiratory rate or temperature. Licensee acknowledged she did
not call the Nurse Practitioner or notify the charge nw-se of this oxygen saturation. Licensee stated after observing
Keisha she thought the reading was not accurate. Licensee did not provide adequate reassessment of Keisha's
hemodynamic status given the various sedating medications Keisha was administered during the shift including two
doses of intravenous Lorazepam and two doses of inw·avenous Hydromorphone. No further vital signs were obtained
after May 10, 2014, at 2:00 a.m. On May 10, 2014, at 5:51 a.m., Keisha was found in cardiac arrest by a certified
nursing assistant (CNA) care pru1ner. Code Blue was called and Keisha was found to be in pulseless electrical
activity cardiac a.1Test. She received cardiopulmonary resuscitation, epinephrine three times and was intubated ,vith
return of spontaneous circulation after 15 minutes. She was transferred to the medical intensive care unit (MICU) for
further management. On presentation to the MICU, Keisha was started on multiple pressers. Keisha's pupils were
fixed and dilated, no respiratory eff01t and pH of 6.9. Computed tomography (CT) of her head was obtained which
showed changes consistent with global hypoxic ischemic injury. After several conversations with the family, they
decided to make Keisha do not resuscitate (DNR), discontinue life saving devices and transition to comfort care
measures only. Licensee stipulated that such allegations, if proven, are legally sufficient to support findings of fact and
conclusions of law that Licensee has violated N.C. Gen. Stat. 90-171.37 and the Board of Nursing Regulations.

Cause of Death
It is my opinion, within reasonable medical probability, that the cause of death of Keisha was fai lure to properly
maintain medically ordered cardiopulmonary monitoring; but for that failure to render to Keisha the care owed to her
by a nw-se, Keisha would not have died when she did.

It is therefore my opinion, within reasonable medical probability, that the Keisha's death certification should have
been as fo llows:
Part 1
Failure to properly maintain medically ordered cardiopulmonary monitoring
Part2
Acute-on-chronic kidney injury
due to Systemic lupus erythematosus

Manner of Death: Homicide

Basis for Opinion on Cause of Death
Had Licensee properly maintained the ordered cardiopulmonary monitoring, Keisha' s cru·diac an·est, which apparently
occurred between 2:00 a.m. and 5:51 a.m. would have been detected in time to initiate CPR immediately, saving
Keisha's life. The manner of death is best certified as Homicide because the lack of proper care by Licensee was
criminally negligent.

I reserve the right to amend or supplement this report upon receipt of additional information.
Sincerely,     I.;(~
~ D a-n , )'l/.£.

Diplomate in Anatomic and Forensic Pathology


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       ECU Health Finances Over Safety


     • ECU Health Medical Center Safety Grades
          • ECU Health North Safety Grades
         • Nash Hospital, Inc. Safety Grades
   • System of Care Page from PCMH 2018 Vendor
                   Policy Handbook
      • System of Care Pages from ECU Health's
                  Website as of 2023




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